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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

FLEISCHER STUDlOS, INC., Case No. 2:06-cv-06229-FMC-MANx

Plaintiff, JUDGMENT

VS.

A.V.E.L.A., INC. d/b/a AR'I` & VINTAGE
ENTERTAINMENT LICENSING AGENCY,
ART-NOSTALGIA.COM, INC., and X ONE
X MOVIE ARCHIVE, INC., BEVERLY
HILLS TEDDY BEAR CO., LEO
VALENCIA, and DOES 1-10

Defendants.

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The Court, having entered its December 16, 2008 Order Dcnying the Motion for
Sumrnary Judgment and a Permanent injunction filed by Plaintiff Fleischer Studios, Inc.
(“Fleischer”) and Granting the Motion for Summary Judgment filed by Defendants A.V.E.L.A.,
lnc., Art-Nostalgia.com, lnc., X One X Movie Archive, Inc. and Leo Valencia (“AVlELA
Defendants”) with respect to Fleischer’s copyright infringement claim (Claim l), and having
entered its June 29, 2009 Order Denying Fleischer’s Motion for Summary Judgment and a

Permanent Injunction and Granting AVELA Defendants’ Motion for Summary Judgment with

JUDGMENT

 

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respect to Fleischer’s remaining claims for trademark infringement and related unfair
competition claims (Claims 2 through 5), and good cause appearing therefor, now enters
judgment in favor of the AVELA Defendants and against Fleischer as follows:

JUDGMENT is hereby granted in favor of Defendants A.V.E.L.A., lnc., Art-
Nostalgia.com, lnc., X One X Movie Archive, Inc. and Leo Valencia and against Plaintit`f
Fleischer Studios, lnc. Plaintil`f Fleischer Studios, lnc. shall take nothing, the action is dismissed
on the merits, and Defendants A.V.E.L.A., lnc., Art-Nostalgia.com, lnc., X One X Movie

Archive, lnc. and Leo Valencia shall recover their costs of the action in the sum of $__

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FLo F.NCE MA -c GE

UNITED STATES DISTRIC'I` COURT

JUDGMENT

 

